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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION



     DAVID K. DOTY,

          Plaintiff,

     v.                                               CASE NO. 8:17-cv-456-T-23AEP

     LINCOLN NATIONAL
     LIFE INSURANCE COMPANY,

           Defendant.
     ____________________________________/


                                         ORDER

          In accord with the parties’ stipulation (Doc. 11), the action is DISMISSED

     WITH PREJUDICE.

          ORDERED in Tampa, Florida, on May 1, 2017.
